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                                                                      Telephone 714-966-1000                                 CLERK U.S. BANKRUPTCY COURT
                                                                                                                             Central District of California
                                                                    6 Facsimile      714-966-1002                            BY deramus DEPUTY CLERK


                                                                    7 Proposed Attorneys for Debtor
                                                                      and Debtor-in-Possession,
                                                                    8 Coastal International, Inc.

                                                                    9                        UNITED STATES BANKRUPTCY COURT

                                                                   10                          CENTRAL DISTRICT OF CALIFORNIA

                                                                   11                                 SANTA ANA DIVISION
Weiland Golden Goodrich LLP
                                                Fax 714-966-1002




                                                                   12 In re                                     Case No. 8:19-bk-13584 TA
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13 COASTAL INTERNATIONAL, INC., a            Chapter 11
                                                                      Nevada corporation,
                                                                   14                                           SCHEDULING ORDER ON SETTING OF
                                                                                  Debtor and Debtor-in-         FINAL HEARING ON EMERGENCY MOTIONS
                                                                   15             Possession.                   FOR ORDER:
                              Tel 714-966-1000




                                                                   16                                              (1) APPROVING STIPULATION FOR THE
                                                                                                                       USE OF CASH COLLATERAL
                                                                   17                                                  PURSUANT TO 11 U.S.C. SECTIONS
                                                                                                                       363(c)(2) AND 363(b)(1) AND
                                                                   18                                                  FEDERAL RULE OF BANKRUPTCY
                                                                                                                       PROCEDURE 4001(d); AND
                                                                   19                                                  AUTHORIZING MAINTENANCE OF
                                                                                                                       EXISTING BANK ACCOUNTS AND
                                                                   20                                                  HONORING OF PRE-PETITION
                                                                                                                       CHECKS FOR A LIMITED PERIOD OF
                                                                   21                                                  TIME PURSUANT TO 11 U.S.C.
                                                                                                                       SECTIONS 105, 345, and 363
                                                                   22                                              (2) EMERGENCY MOTION FOR ORDER
                                                                                                                       AUTHORIZING PAYMENT AND
                                                                   23                                                  HONORING OF PRE-PETITION
                                                                                                                       PAYROLL OBLIGATIONS; AND
                                                                   24                                              (3) EMERGENCY MOTION FOR ORDER
                                                                                                                       AUTHORIZING DEBTOR TO OBTAIN
                                                                   25                                                  POSTPETITION FINANCING
                                                                                                                       PURSUANT TO 11 U.S.C. §§ 105, 361,
                                                                   26                                                  362 AND 364

                                                                   27                                           DATE: September 18, 2019
                                                                                                                TIME: 11:00 a.m.
                                                                   28                                           CTRM: 5B
                                                                        1235126.1                                                          SCHEDULING ORDER
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                                                                    1           On September 18, 2019, the Court held a hearing on the emergency motions of

                                                                    2 Coastal International, Inc., the debtor and debtor-in-possession ("Debtor") in the above-

                                                                    3 captioned chapter 11 bankruptcy case ("Case"), for an order: (1) approving stipulation for

                                                                    4 the use of cash collateral pursuant to 11 U.S.C. §§363(c)(2) and 363(b)(1) and Federal

                                                                    5 Rule of Bankruptcy Procedure 4001(d) and Authorizing Maintenance of Existing Bank

                                                                    6 Accounts and Honoring of Pre-Petition Checks for a Limited Period of Time Pursuant to

                                                                    7 11 U.S.C. §§105, 345, and 363; (2) Authorizing Payment and Honoring of Pre-Petition

                                                                    8 Payroll Obligations; and (3) Authorizing Debtor to Obtain Post-Petition Financing Pursuant

                                                                    9 to 11 U.S.C. §§105, 361, 362 and 364 (collectively, the "Motions"). Appearances were as

                                                                   10 noted on the record.

                                                                   11           On September 20, 2019, the Court entered orders on the Motions on an interim
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                                                                   12 basis and set a final hearing on the Motions as follows,
                               650 Town Center Drive, Suite 600
                                  Costa Mesa, California 92626




                                                                   13        IT IS ORDERED:

                                                                   14           1.    The final hearing on the Motions shall be held on October 24, 2019, at 3:00

                                                                   15                 p.m.
                              Tel 714-966-1000




                                                                   16           2.    Any further moving papers shall be filed and served by October 2, 2019.

                                                                   17           3.    Any responsive papers shall be filed by October 11, 2019.

                                                                   18           4.    Any sur-reply shall be filed by October 18, 2019.

                                                                   19           5.    Any motion filed by Global Experience Specialist f/k/a GES Exposition

                                                                   20                 Services, Inc., including its anticipated motion to dismiss or transfer venue,

                                                                   21                 may be filed and set for hearing on the same schedule.

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                                                                   23
                                                                         Date: September 24, 2019
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                                                                        1235126.1                                     2                          SCHEDULING ORDER
